                              UNITED STATES DISTRICT
                                DISTRICT OF MAINE

 MICHAEL MCKENZIE,                                    Before:Nancy Torresen
            Plaintiff                                    U.S. District Judge
                                                     Case No.: 2:20-cv-262-NT
 v.                                                 Court Reporter: Lori Dunbar
                                                   Courtroom Deputy: Stacey Graf
 JAMES W BRANNAN, et al,
             Defendant(s)                           Date: 7/20/2022 – 7/22/2022

                 COURTROOM MINUTES: TRIAL PROCEEDINGS

Appearances:

Plaintiff                     Bridget A. Zerner, Esq. and John J.E. Markham, II, Esq.
Defendant(s):                 Seth W. Brewster, Esq, Alfred Joseph Falzone, III, Esq.,
                              and Christina M. Moylan, Esq.
Type of Counsel:              Retained

Bench Trial:

      Bench Trial Began on 7/20/2022
      Bench Trial Continued/Held on: 7/21/2022
      Bench Trial Concluded on: 7/22/2022


   Motions: (Specify Date and Motion and/or Ruling Below
 ECF No. 118: MOTION in Limine to         7/20/22 – Oral Order Reserving Ruling on
 Exclude Evidence About Morgan Art        MOTION in Limine to Exclude Evidence
 Foundation                               About Morgan Art Foundation

 ECF. No. 119: MOTION in Limine to            7/20/22 – Oral Order Reserving Ruling on
 Exclude Evidence About Any Alleged           MOTION in Limine to Exclude Evidence
 Forgery of Artwork or Discussions About      About Any Alleged Forgery of Artwork or
 Robert Indiana Signing Artwork               Discussions About Robert Indiana Signing
                                              Artwork

 ECF No. 120: MOTION in Limine to             7/20/22 – Oral Order Reserving Ruling on
 Exclude Evidence of Comments Made by         MOTION in Limine to Exclude Evidence
 the Mediator in the Portland, Maine 2019     of Comments Made by the Mediator in the
 Mediation                                    Portland, Maine 2019 Mediation
 ECF No. 135: OBJECTION to [134]             7/22/22 – Oral Order Reserving Ruling on
 Brief on Plaintiff Offering the Testimony   OBJECTION to [134] Brief on Plaintiff
 of Osvaldo Gonzalez                         Offering the Testimony of Osvaldo
                                             Gonzalez

 ECF No. 136: ORAL MOTION for                7/22/22 – Oral Order Reserving Ruling on
 Judgment on Partial Findings                ORAL MOTION for Judgment on Partial
                                             Findings

 ECF No. 137: RENEWED ORAL                   7/22/22 – Oral Order Reserving Ruling on
 MOTION for Judgment on Partial              ORAL MOTION for Judgment on Partial
 Findings                                    Findings




   Other/Notes: Simultaneous post-trial briefs due 8/15

***Note: Exhibit and Witness Lists are filed separately
